                      Case 1-22-40304-jmm                    Doc 68-1           Filed 04/14/22        Entered 04/14/22 17:03:48
1040 (Form 1040) (12/15)
                    ADVERSARY PROCEEDING COVER SHEET                                                         ADVERSARY PROCEEDING NO.
                                      (Instructions on Reverse)
PLAINTIFF(S)                                                                        DEFENDANT(S)
Jar 259 Food Corp.                                                                  Wynwood Capital Group, Inc., Sam Gross, Zalmen
                                                                                    Teitelbaum, and The John Doe and Jane Doe Investors

ATTORNEY(S) (Firm Name, Address, Telephone No.)                                     ATTORNEY(S) (If Known)
White and Williams LLP
7 Times Square, Suite 2900
New York, NY 10036
(212) 244-9500



PARTY (Check One Box Only)                                PARTY (Check One Box Only)
     Debtor          U.S. Trustee                                Debtor              U.S. Trustee
     Creditor        Trustee              Other                  Creditor            Trustee        Other
CAUSE OF ACTION (Write a brief statement of cause of action, including all U.S. statutes involved.)
1.) 11 U.S.C. § 502(a), (b), and (j), 2.) 18 U.S.C. § 1962, 3.) 18 U.S.C. § 1962(d), 4.) 11 U.S.C. § 547, 5.) 11
U.S.C. § 548, 6.) New York Law, DCL §§ 273-275, 278, and 279, 7.) 11 U.S.C. § 550, 8.) 11 U.S.C. § 502(d),
9.)11 U.S.C. §§ 105 and 362(a)


                                                                        NATURE OF SUIT
      (Number up to 5 boxes with the lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)


FRBP 7001(1) – Recovery of Money/Property                                           FRBP 7001(6) – Dischargeability (continued)
  11 – Recovery of money/property ‐ § 542 turnover of property                        61 – Dischargeability ‐ § 523(a)(5), domestic support
  12 – Recovery of money/property ‐ § 547 preference                                  68 – Dischargeability ‐ § 523(a)(6), willful and malicious injury
  13 – Recovery of money/property ‐ § 548 fraudulent transfer                         63 – Dischargeability ‐ § 523(a)(8), student loan
  14 – Recovery of money/property – other                                             64 – Dischargeability ‐ § 523 (a)(15), divorce or separation obligation
                                                                                              (other than domestic support)
FRBP 7001(2) – Validity, Priority or Extent of Lien                                   65 – Dischargeability – other
   21 – Validity, priority or extent of lien or other interest in property
                                                                                    FRBP 7001(7) – Injunctive Relief
FRBP 7001(3) – Approval of Sale of Property                                           71 – Injunctive relief – imposition of stay
   31 – Approval of sale of property of estate and of a co‐owner ‐ § 363(h)           72 – Injunctive relief – other

FRBP 7001(4) – Objection/Revocation of Discharge                                    FRBP 7001(8) – Subordination of Claim or Interest
  41 – Objection/revocation of discharge ‐ § 727(c), (d), (e)                         81‐ Subordination of claim or interest

FRBP 7001(5) – Revocation of Confirmation                                           FRBP 7001(9) – Declaratory Judgment
  51 – Revocation of confirmation                                                     91 – Declaratory judgment

FRBP 7001(6) – Dischargeability                                                     FRBP 7001(10) – Determination of Removed Action
  66 – Dischargeability ‐ § 523(a)(1), (14), (14A) priority tax claims                01 – Determination of removed claim or cause
  62 – Dischargeability ‐ § 523(a)(2), false pretenses, false representation,
          actual fraud                                                              Other
  67 – Dischargeability ‐ § 523(a)(4), fraud as fiduciary, embezzlement,              SS‐SIPA Case – 15 U.S.C. §§ 78aaa et seq.
          larceny                                                                     02 – Other (e.g.,other actions that would have been brought in state court
  (continued next column)                                                                     if unrelated to bankruptcy case)
   Check if this case involves a substantive issue of state law                       Check if this is asserted to be a class action under FRCP 23
   Check if a jury trial is demanded in complaint                                   Demand: $

Other Relief Sought:
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